           Case 18-31736 Document 3 Filed in TXSB on 04/04/18 Page 1 of 4




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

  In re:                                              §       Case No. 18-31736
                                                      §
  R.O. MANSE 1708, LLC                                §       (Chapter 11)
                                                      §
                                                      §
      Debtor.                                         §


      NOTICE OF APPEARANCE AND REQUEST FOR SERVICE AND NOTICE

       PLEASE TAKE NOTICE that Goldman Sachs Bank USA (“Goldman”), by and through

its counsel of record, Vinson & Elkins LLP, hereby files this Notice of Appearance and Request

for Service and Notice (this “Notice of Appearance”) pursuant to sections 342 and 1109(b) of title

11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 3017, 9007, and 9010 of the

Federal Rules of Bankruptcy Procedure (the “Federal Rules”), and the Local Rules of the United

States Bankruptcy Court for the Southern District of Texas (the “Local Rules”), and request that

all notices given or required to be given in this case be given to and served upon counsel for

Goldman at the following address, telephone, facsimile, and emails:


                                     William L. Wallander
                                     Garrick C. Smith
                                     VINSON & ELKINS LLP
                                     Trammell Crow Center
                                     2001 Ross Avenue, Suite 3700
                                     Dallas, Texas 75201-2975
                                     Tel: (214) 220-7700
                                     Fax: (214) 220-7716
                                     bwallander@velaw.com
                                     gsmith@velaw.com


       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules, Local Rules, and sections of the
          Case 18-31736 Document 3 Filed in TXSB on 04/04/18 Page 2 of 4




Bankruptcy Code specified above, but also includes, without limitation, the schedules, statement

of financial affairs, operating reports, any plan of reorganization or disclosure statement, any letter,

application, motion, complaint, objection, claim, demand, hearing, petition, pleading or request,

whether formal or informal, whether written or oral, and whether transmitted or conveyed by mail,

delivery, telephone, telegraph, telex or otherwise filed with or delivered to the Bankruptcy Clerk,

Clerk, Court or Judge (as those terms are defined in Bankruptcy Rule 9001) in connection with

and with regard to the above referenced bankruptcy cases and any proceedings related thereto.

       PLEASE TAKE FURTHER NOTICE that Goldman does not consent to or waive any

rights, claims, actions, or defenses through the filing and service of this Notice of Appearance with

respect to jurisdiction under the Bankruptcy Code, and strictly reserves such rights, including

(i) the right to trial by jury in any proceeding triable in this case or any case, controversy or

proceeding related to this case, (ii) the right to have final orders in non-core matters entered only

with de novo review by the United States District Court for the Southern District of Texas (the

“District Court”), and (iii) the right to seek to have the District Court withdraw the reference in

any matter subject to mandatory or discretionary withdrawal.
        Case 18-31736 Document 3 Filed in TXSB on 04/04/18 Page 3 of 4




Dated: April 4, 2018                Respectfully submitted,

                                    /s/ Garrick C. Smith
                                    William L. Wallander
                                    State Bar No. 20780750
                                    Garrick C. Smith
                                    State Bar No. 24088435
                                    VINSON & ELKINS LLP
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                                    gsmith@velaw.com

                                    COUNSEL FOR GOLDMAN SACHS BANK
                                    USA
         Case 18-31736 Document 3 Filed in TXSB on 04/04/18 Page 4 of 4




                                CERTIFICATE OF SERVICE

        I certify that on April 4, 2018, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                              /s/ Garrick C. Smith
                                             Garrick C. Smith
